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11

12                                 UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

15

16   JILL LEOVY, NICHOLAS GUILAK,                  )   CASE NO.: 3:23-cv-03440-AMO
     CAROLINA BARCOS, PAUL MARTIN,                 )
17   MARILYN COUSART, ALESSANDRO DE LA             )   DECLARATION OF ERIC P.
     TORRE, VLADISSLAV VASSILEV, JANE              )   TUTTLE RE STIPULATION TO
18   DASCALOS, and minor G.R., individually, and   )   SET BRIEFING SCHEDULE FOR
     on behalf of all other similarly situated,    )   DEFENDANT’S ANTICIPATED
19                                                 )   MOTION TO DISMISS FIRST
                    Plaintiffs,                    )   AMENDED COMPLAINT
20                                                 )
            v.                                     )   Judge: Hon. Araceli Martínez-Olguín
21                                                 )
     GOOGLE LLC,                                   )
22                                                 )
                    Defendant.                     )
23                                                 )

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     TUTTLE DECLARATION RE STIPULATION                              CASE NO.: 3:23-CV-03440-AMO
       Case 3:23-cv-03440-AMO Document 29-1 Filed 01/16/24 Page 2 of 3



 1          I, Eric P. Tuttle, declare as follows:

 2          1.      I am an attorney and a partner at the law firm of Wilson Sonsini Goodrich &

 3   Rosati, P.C., counsel for Defendant in this matter. I submit this declaration in support of the

 4   parties’ Stipulation to Set Briefing Schedule for Defendant’s Anticipated Motion to Dismiss First

 5   Amended Complaint (the “Stipulation”). I have personal knowledge of the facts set forth herein

 6   and, if called as a witness, I could and would testify competently thereto.

 7          2.      Counsel for Defendant and counsel for Plaintiffs have conferred on a briefing

 8   schedule for Defendant’s anticipated motion to dismiss, and have agreed upon the briefing

 9   schedule set forth in the Stipulation.

10          3.      Plaintiffs’ First Amended Complaint contains 646 numbered paragraphs and 301

11   footnotes over 137 pages. Compared to the original Complaint, it has dropped two causes of

12   action, added four new causes action, added new allegations, added three new plaintiffs, and

13   dropped two plaintiffs.

14          4.      The Parties have not previously sought any extension of the time for Defendant to

15   respond to the First Amended Complaint.

16          5.      The Parties previously stipulated to extensions of Defendant’s time to respond to

17   the original Complaint (ECF Nos. 11 & 12). The Court previously granted the Parties’ stipulation

18   to give Plaintiffs until January 5, 2024 to file the First Amended Complaint (ECF Nos. 26 & 27).

19   The Court granted the Parties’ prior stipulated requests to continue the initial Case Management

20   Conference, currently set for February 22, 2024 at 10 a.m. (ECF Nos. 23, 27).

21          6.      No schedule for the case has been set.

22

23          I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct. Executed on January 16, 2024 at Seattle, Washington.

25                                                   /s/ Eric P. Tuttle
                                                     Eric P. Tuttle
26                                                   eric.tuttle@wsgr.com
27                                                   Counsel for Defendant
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     TUTTLE DECLARATION RE STIPULATION                   -1-                  CASE NO.: 3:23-CV-03440-AMO
       Case 3:23-cv-03440-AMO Document 29-1 Filed 01/16/24 Page 3 of 3



 1                                    SIGNATURE ATTESTATION

 2          I, David H. Kramer, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the concurrence

 4   in the filing of this document has been obtained from the other signatory.

 5                                                By: /s/ David H. Kramer
                                                        David H. Kramer
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     TUTTLE DECLARATION RE STIPULATION                 -2-                  CASE NO.: 3:23-CV-03440-AMO
